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                              IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


RE: Ohio Valley University
                                                                                     Case No.: 22-00056

                                             Debtor(s)                               Chapter 7



                               TRUSTEE'S APPLICATION FOR COMPENSATION
                                   AND REIMBURSEMENT OF EXPENSES

       Pursuant to 11 U.S.C. Section 330, the undersigned Trustee hereby requests compensation in the
amount of $23,670.91 and reimbursement of expenses in the amount of $3,417.42 for this case. The
Trustee has, by prior authorization, received no such compensation and no such reimbursement of
expenses.


                           COMPUTATION OF COMPENSATION AND EXPENSES

Total disbursements to other than debtor will be                                                                         $    408,418.18

Pursuant to 11 U.S.C. Section 326, compensation to the trustee is computed as follows:


(For cases filed on or after October 23, 1994)

                      $            408,418.18                       25% of First $5,000                                  $      1,250.00
Less                  $             -5,000.00                       ($1,250.00 Maximum)
Balance               $                  0.00                       10% of next $45,000                                  $      4,500.00
Less                  $            -45,000.00                       ($4,500.00 Maximum)
Balance               $                  0.00                       5% of next $950,000                                  $     17,920.91
Less                  $           -950,000.00                       ($47,500.00 Maximum)
Balance               $                  0.00                       3% of Balance                                        $          0.00

TOTAL COMPENSATION REQUESTED                                                                                             $     23,670.91

TRUSTEE'S EXPENSES (ITEMIZED):
Premium on Trustee's bond ..................................................................................$                       0.00
Necessary travel (156 miles @ 0.585 cents/mile) .................................................$                                 91.26
Necessary copies (14,927 @ 10.0 cents/copy) ......................................................$                             1,492.70
Postage ..................................................................................................................$     1,667.59
Telephone charges .................................................................................................$                0.00
Clerical/Secretarial staff (0.0 hrs @ $0.00/hr) ......................................................$                             0.00
Paralegal Staff (0.0 hrs @ $0.00/hr)......................................................................$                         0.00
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